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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JERI LYNNE DIMOFF,                               ) CIVIL CASE NO.
      Plaintiff,                                 )
                                                 ) JURY TRIAL DEMANDED
              v.                                 )
                                                 )
CHAMBERSBURG PENNSYLVANIA                        )
STATE POLICE, TROOPER LUCAS                      )
AMAROSE, TROOPER CONOR                           )
TREMAINE, and JOHN DOE                           )
SUPERVISORY OFFICERS,                            )
    Defendants.                                  )

                                      COMPLAINT

                           PRELIMINARY STATEMENT

      1. Plaintiff Jeri Lynne Dimoff files this action for severe and permanent

         injuries sustained as a direct and proximate result of the reckless, wanton

         and willful actions of the Pennsylvania State Police and its officers, agents

         and/or employees, which and who deprived Plaintiff Dimoff of her civil

         rights.
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                             JURISDICTION

2. This Court has jurisdiction over the subject matter of this Complaint under

   42 U.S.C. § 1983 and 28 U.S.C. §§ 1331, 1343(a)(3), 1343(a)(4), and

   1367(a).

                               PARTIES

3. Plaintiff Jeri Lynne Dimoff, (hereinafter “Dimoff”) is an adult individual

   who resides in Chambersburg, Pennsylvania and suffered serious and

   permanent injuries following an arrest on or about January 26, 2019.

4. Defendant Chambersburg Pennsylvania State Police (hereinafter “PSP”)

   was at all times relevant a municipality duly organized and existing under

   the laws of the Commonwealth of Pennsylvania with its principle office or

   place of business located at 3800 Black Gap Road, Chambersburg, PA

   17202.

5. Defendant Trooper Lucas Amarose (hereinafter “Amarose”) is an officer

   for the Chambersburg Pennsylvania State Police who was on duty of

   January 26, 2019. Defendant Amarose was at all times relevant an

   employee and agent of the Chambersburg Pennsylvania State Police,

   acting within the scope of his authority, under color of state law.

   Defendant Amarose is sued in his official and individual capacity.
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6. Defendant Trooper Conor Tremaine, (hereinafter “Tremaine”) is an

   officer for the Chambersburg Pennsylvania State Police who was on duty

   of January 26, 2019. Defendant Tremaine was at all times relevant an

   employee and agent of the Chambersburg Pennsylvania State Police,

   acting within the scope of his authority, under color of state law.

   Defendant Tremaine is sued in his official and individual capacity.

7. Defendant John Doe Supervisory Officers (hereinafter “Officers”), were

   officers for the Chambersburg Pennsylvania State Police who were on

   duty of January 26, 2019. Defendant Officers were at all times relevant

   employees and agents of the Chambersburg Pennsylvania State Police,

   acting within the scope of his authority, under color of state law.

   Defendant Officers are sued in their official and individual capacity and

   were supervisory officers of the Defendants.

       DEFENDANTS’ DUTIES AND RESPONSIBILITIES

8. Defendant PSP is responsible for setting policy, procedures and directives

   for the operation of the Borough and its police force, including, without

   limitation policies and procedures for the selection, evaluation, training

   and supervision of police officers employed by PSP, and to ensure that

   policies, procedures and directives established are enforced for the

   exercise of their police duties.
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9. Additionally, Defendant PSP is responsible for the review and supervision

   of the actions of individual officers to ensure that they conform to

   established policies, procedure and/or guidelines including whether they

   were discharging their duties in an appropriate and lawful manner

   consistent with policies and procedures.

10. Defendant PSP was at all times relevant hereto charged with the

   enforcement of the laws of the Commonwealth of Pennsylvania in a fair,

   just and equitable manner consistent with the rights afforded all

   individuals by the Constitutions of the United States of America and the

   Commonwealth of Pennsylvania.

11. Defendant PSP was also charged with setting and/or interpreting policy,

   training and supervision of officers under his command including but not

   limited to when, under what circumstances, and in what manner an officer

   is permitted to engage in a vehicular stop or chase.

12. Defendant PSP was also responsible for the review and supervision of the

   actions of individual officers to ensure that they were conforming to

   established policies, procedures and/or guidelines including whether they

   were discharging their duties in an appropriate and lawful manner

   consistent with policies and procedures and if officers violate the

   Constitutional Rights of Borough residents and others.
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                     FACTUAL ALLEGATIONS

13. Plaintiff Dimoff was an adult individual at the time she suffered serious

   and permanent injuries as a result of the actions of the Chambersburg

   Pennsylvania State Police Department and its officers, specifically

   Defendants Amarose, Tremaine, and John Doe Officers 1, 2 and 3.

14. Plaintiff’s injuries were precipitated by an arrest between Plaintiff and

   Amarose, Tremaine and John Doe Officers on January 26, 2019.

15. By way of background, on January 26, 2019, Plaintiff Dimoff was

   driving her son home from a friend’s house with the family dog in the car.

16. Unfortunately, Dimoff was pulled over by the PSP for allegedly weaving

   into the other lane of traffic and crossing traffic lines.

17. Plaintiff Dimoff upon seeing the police units pursuing her turned left into

   a church parking lot.

18. Dimoff and her son removed their seatbelts to secure the dog in the

   backseat as the dog was whining and trying to jump in the front seat with

   Dimoff.

19. PSP conducted a traffic stop and identified through PennDOT records

   that the driver of the vehicle, Plaintiff Dimoff, had an expired license.
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20. While Defendant Amarose was speaking with Dimoff, he allegedly

   detected a strong odor of an alcoholic beverage emanating from her

   breath.

21. Defendant Amarose asked Plaintiff Dimoff if she had anything to drink to

   which she responded she did.

22. Defendant Amarose requested Dimoff to exit her vehicle and participate

   in Standardized Field Sobriety Testing.

23. At this time Dimoff’s son began to cry as he continued to try to keep the

   dog calm and was frightened by the police interaction.

24. Dimoff explained to the Defendants Amarose and Tremaine that her

   husband was a police officer and she could call him to come pick up her

   son.

25. Dimoff was asked by Defendants Amarose and Tremaine to sit on the

   front of the police vehicle which was behind Dimoff’s car.

26. Dimoff advised the Defendants she did not have her glasses on.

27. Defendant Amarose began to conduct the Horizontal Nystagmus

   Test (HGN) sobriety test.

28. During the test Defendant Amarose became verbally aggressive towards

   Plaintiff Dimoff insinuating and stating she was acting like a “bitch” and

   not cooperating.
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29. Plaintiff Dimoff was cooperating to the best of her abilities, and was not

   resisting and/or fighting the Defendants at any moment.

30. The next test requested by the officer(s) was the Walk and Turn test.

31. Dimoff asked Defendant Amarose if she could get her glasses out of her

   vehicle, to which he responded no.

32. Officer Amarose showed Dimoff how to perform the test.

33. Due to her shoes, her balance and medical coordination issues, Plaintiff

   advised Defendants she probably could not perform this test well.

34. Dimoff had recently fell backwards on her home steps due to her medical

   condition where she was taken to the emergency room treated for a

   dislocated shoulder and needed stitches.

35. Dimoff performed the test the best she could while cooperating and

   returned to the front bumper of the police car to sit.

36. Plaintiff Dimoff requested numerous times for the Defendants to please

   check on her 11-year-old son who was still sitting in the vehicle with their

   dog.

37. Defendant Amarose responded loudly “We will.” Defendant Tremaine

   also responded “We will.”

38. Defendant Amarose proceeded to illustrate the last sobriety test while

   aggressively yelling at Plaintiff Dimoff.
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39. Defendant Tremaine reiterated what Defendant Amarose was stating

   echoing his aggressive behavior.

40. Plaintiff Dimoff conducted the test to the best of her ability.

41. Defendant Tremaine stated to Dimoff if she didn’t continue to cooperate

   they were going to have to put handcuffs on her.

42. Plaintiff explained to the Defendants Amarose and Tremaine she was not

   being disrespectful and she was cooperating.

43. Defendants then asked Plaintiff Dimoff to conduct a breathalyzer test.

44. Defendant Dimoff cooperated blowing a .14 BAC.

45. Defendants told Plaintiff to turn around repeatedly yelling at her while

   Plaintiff was calmly standing there trying to understand why Defendants

   were yelling at her.

46. Defendant Tremaine grabbed the Plaintiff and aggressively swung her

   around onto the hood of the police car and then to the pavement to cuff

   her.

47. The entire time while the cuffing is happening, the Defendants continue

   to yell and curse at Plaintiff Dimoff.

48. Defendants threw Plaintiff onto the pavement knocking her face into the

   pavement causing her to break a tooth and have her teeth pushed into her

   gums. She also suffered abrasions to her face.
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49. When Plaintiff was picked up from the pavement, she swallowed her

   tooth as she realized it was missing.

50. Plaintiff Dimoff was having a hard time concentrating and was very

   disoriented due to the injuries sustained from her head hitting the

   pavement.

51. Plaintiff Dimoff’s mouth was filled with blood and gravel so she was

   repeatedly spitting the blood and gravel out so she would not swallow it.

52. As she was still disoriented and could hardly concentrate, Plaintiff

   Dimoff accidentally spit on Defendant Tremaine.

53. Immediately Defendant Tremaine began to yell at Dimoff, “You spit on

   me! You spit on me!”

54. Both Defendants began to yank and pull Plaintiff Dimoff and placed her

   in back of the police car while yelling obscenities at her.

55. For some time, the Defendants were having a discussion where it

   appeared they were having a disagreement.

56. One of the Defendants asked if Plaintiff Dimoff was on blood thinners

   because of the extent of the bleeding.

57. Plaintiff Dimoff’s eyesight was not the best at this moment due not

   having her glasses on (which Defendant Amarose refused her permission
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   to get out of her vehicle) and also from the injuries sustained from the

   Defendants.

58. Plaintiff thus attempted to spit blood and gravel out of the window not

   realizing the window was closed.

59. Dimoff at no time was loud, disrespectful or non-compliant.

60. The Defendants next took Plaintiff to the hospital for blood testing.

61. After arriving at the hospital, Defendants yanked Plaintiff out the police

   car and dragged her across the parking lot to the entrance of the hospital.

62. As Plaintiff Dimoff waited to be seen, Defendant Amarose kept making

   inappropriate comments taunting Plaintiff and calling the Plaintiff a

   “bitch.”

63. Plaintiff Dimoff eventually saw a nurse who took her blood pressure

   which was high due to Plaintiff’s anxiety caused by the Defendants.

64. Defendant Amarose continued to antagonize the Plaintiff to the point

   where the nurse had to ask Defendant Amarose to leave the room and wait

   in the waiting area.

65. At this time Defendant Tremaine apologized to Plaintiff for taking her

   down to the pavement however Tremaine stated when he feels someone is

   resisting, he is required to take the person down.

66. Dimoff responded “Does it always go this far?”
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67. Defendant Tremaine replied, “No.”

68. Dimoff asked how it got out of hand when she was compliant the entire

   time.

69. Defendant Tremaine responded he wasn’t sure what had happened and

   apologized to Plaintiff and stated “it got out of hand.”

70. The nurses continued to monitor Plaintiff as her anxiety spiked and the

   nurses needed to make sure Plaintiff did not hyperventilate.

71. Plaintiff was next moved to a different room and both Defendants

   Amarose and Tremaine took Plaintiff’s arms pulling her through the hall

   to mover her.

72. When they arrived to the room Plaintiff was told to sit on the bed.

   Plaintiff explained she did not feel stable enough to sit on a bed and asked

   to sit on a chair.

73. Plaintiff sat on the chair trying to collect her thoughts and concentrate on

   what was going on at the moment.

74. Defendant Amarose was told by Defendant Tremaine to wait in the hall.

75. Defendant Amarose was asked several times by the nursing staff to stop

   making inappropriate comments and peering into Plaintiff’s room.

76. The Plaintiff had to use the restroom.
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77. As both Defendants Amarose and Tremaine escorted Plaintiff to the

   restroom, Amarose again called Plaintiff a “bitch” and mumbled other

   inappropriate comments under his breath.

78. Tremaine glanced over to Amarose to signal him to calm down.

79. Defendant Tremaine continued to walk Plaintiff to the restroom.

80. Defendant Tremaine advised Plaintiff once they got to the police station

   there would be a female officer Plaintiff could speak with and explain

   everything that had happened.

81. Defendant Tremaine then shared with Plaintiff that he knew things got

   out of hand but had to comply with Defendant Amarose.

82. Coming back from the restroom Defendant Tremaine and Plaintiff

   Dimoff talked about how she spit on Tremaine.

83. Dimoff explained it was not on purpose and she apologized to Tremaine.

84. Dimoff and Tremaine retuned to the room.

85. Defendant Amarose stood outside of the room glaring at Plaintiff and

   speaking loudly to the nurses “how being an officer’s wife got me far”

   and again calling the Plaintiff again a “stupid bitch” and an “out of control

   drunk.”

86. Another officer then arrived, believed to be Officer Frantz.
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87. Amarose and Frantz stood outside the room laughing and talking loudly

   and again Amarose stated “being an officer’s wife doesn’t mean squat to

   us.”

88. The nurse took Plaintiff’s blood for testing and then a doctor arrived to

   check Plaintiff’s injuries.

89. The doctor suggested Plaintiff get a MRI for her head injury and a

   sonogram for swallowing a tooth however Plaintiff refused.

90. The Plaintiff understandably did not want to spend any additional time

   near or around the Defendants who caused her pain and anxiety.

91. Her injuries were serious and permanent and included but were not

   limited to the following:

    a.    Front right tooth knocked out,
    b.    Front left tooth and second tooth pushed into gums;
    c.    Gum pain;
    d.    Top teeth went through bottom lip causing upper and lower lip cuts
          and swelling;
    e.    Multiple facial abrasions;
    f.    Bleeding nose;
    g.    Swelled knee along with abrasions;
    h.    Right and left arm injury
    i.    Elbow injured;
    j.    Abrasions on left chest;
    k.    Bruising on lower back; and
    l.    Head wounds.

92. The nurse advised Plaintiff she could get dressed and leave.
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93. When Plaintiff walked out of the room Amarose grabbed the Plaintiff’s

   discharge papers and the Plaintiff advised Amarose they were her papers.

94. Defendant Amarose told Plaintiff to “shut up” and the papers now

   belonged to him.

95. Immediately Amarose yanked Plaintiff around pulling her arms behind

   her back and cuffing her tightly.

96. Both Defendants were pulling Plaintiff’s arms very aggressively causing

   even more pain to the Plaintiff.

97. Amarose put the Plaintiff in the car and the seatbelt was placed tightly

   across the Plaintiff’s neck.

98. When the Plaintiff asked for the seatbelt to be moved/loosened, Amarose

   called the Plaintiff a “bitch” and told Plaintiff to “shut up.”

99. Once the Defendants and Plaintiff got to the police barracks, the Plaintiff

   sat on a bench while Defendant Tremaine handed Plaintiff paper towels

   for her bleeding mouth.

100.   While Amarose fingerprinted Plaintiff he continued to be very

   aggressive and became agitated and more abusive as he had to repeat the

   fingerprinting process several times as it was not working correctly.

101.   Plaintiff continued to bleed from her mouth and Defendant Amarose

   became further agitated but offered Plaintiff a dry paper towel. Plaintiff
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  declined due to the fact the dry paper towel would stick to the blood and

  her mouth.

102.   After the Plaintiff was fingerprinted, Amarose continued his sarcastic,

  inappropriate remarks while briskly walking to the car to take the Plaintiff

  to jail.

103.   Plaintiff tripped as she could not keep up with Amarose and then was

  slammed by the Defendant against the police cruiser, hitting her face

  causing her to get a black eye.

104.   Once they arrived at the county jail, a female officer took the Plaintiff

  into a room to be searched.

105.   Plaintiff told the female officer what was happening and the female

  officer responded, saying she could see what was happening and that is

  why she got the Plaintiff away from the Defendants and into another

  room.

106.   During Plaintiff’s time in jail her anxiety spiraled out of control, she

  was unable to stay calm, and felt dizzy most of the time.

                           CAUSES OF ACTION

             COUNT I – FEDERAL CIVIL RIGHTS VIOLATION

             4th and 14th Amendment – Excessive Force
   Against Defendant Trooper Amarose, in his individual and official
       capacity as a Chambersburg Pennsylvania State Trooper
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  Against Defendant Trooper Tremaine, in his individual and official
       capacity as a Chambersburg Pennsylvania State Trooper
  Against Defendant John Doe Supervisory Officers in their individual
          and official capacities as Police Supervisory Officers


107.   Plaintiff incorporates by reference paragraphs 1 through 106 of the

  instant Complaint.

108.   Defendants are state actors who acted under color of state law and in a

  manner that deprived Plaintiff of her Constitutional rights to be free from

  excessive force without probable cause and due process of law as

  guaranteed by the Fourth Amendment and Fourteenth Amendment to the

  U.S. Constitution.

109.   Defendants engaged in excessive, unnecessary, and unreasonable

  force, such force being the abusive and excessive handling of Plaintiff,

  when inexplicably forcing the Plaintiff onto the ground and into the side

  of the police cruiser multiple times on the date of the incident in question.

110.   As a direct and proximate result of Defendants’ conduct, Plaintiff

  sustained damages and suffered the following injuries:

   a. Violation of her constitutional rights under the 4th Amendment to the

       United States Constitution;

   b. Severe physical injuries, emotional harm, humiliation, and pain and

       suffering that occurred because of the unlawful force used; and
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         c. Loss of liberty and financial losses, including attorney fees, costs and

             other expenses all to her detriment and harm.

      WHEREFORE, Plaintiff prays that the Court grant judgment against all

Defendants for the following:

        A. Enter a declaratory judgment, pursuant to Rule 57 of the Federal

             Rules of Civil Procedure, stating that Defendants’ actions have

             subjected Plaintiff to excessive force in violation of 42 U.S.C. §1983.

        B.   Award compensatory damages to Plaintiff.

        C.   Award punitive damages to Plaintiff.

        D. Award cost of suit to include disbursements and attorney’s fees.

        E.   Grant such other and further relief as the Court deems fair and

equitable.

     111.    A jury trial is hereby demanded as to this count.

             COUNT II – FEDERAL CIVIL RIGHTS VIOLATION

       4th and 14th Amendment – Excessive Force Supervisory Violations of
                            the 4th and 14th Amendment
                             42 U.S.C. §1983 and §1986
         Against Defendant Trooper Amarose, in his individual and official
             capacity as a Chambersburg Pennsylvania State Trooper
        Against Defendant Trooper Tremaine, in his individual and official
             capacity as a Chambersburg Pennsylvania State Trooper
       Against Defendant John Doe Supervisory Officers in their individual
               and official capacities as Police Supervisory Officers
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112.   Plaintiff incorporates by reference paragraphs 1 through 111 of the

  instant Complaint.

113.   Defendants acted in a manner that deprived Plaintiff of her

  constitutional right to be free of excessive force as guaranteed by the

  Fourth Fourteenth Amendment.

114.   Defendant John Does were supervisors of those Defendant Officers

  and/or of each other who engaged in excessive force who recklessly and

  knowingly failed to monitor and supervise the other Defendant Officers

  and therefore were deliberately indifferent to the rights of citizens.

115.   Defendants were supervisors of those Defendant Officers who

  engaged in excessive force who recklessly and knowingly failed to train

  or improperly trained the other Defendant Officers and therefore were

  deliberately indifferent to the rights of citizens.

116.   The Defendant supervisors permitted the aforementioned policies,

  practices, and customs, discussed herein to continue, which bred officers

  who routinely and brazenly violate the rights of the citizens with whom

  they have contact.

117.   Upon information and belief, Plaintiff alleges that Defendants knew

  the other Defendants routinely engaged in behavior that was likely to

  violate the 4th Amendment rights of Plaintiff.
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     118.   Defendants were aware of, but indifferent to, the unreasonable risk of

        harm to Plaintiff of a failure to adequately train police officers on the

        lawful use of force and arrests.

     119.    Defendants’ indifference to their supervisory authority over the

        lawful use of force and arrests policy was the moving force behind the

        causation of the violation of Plaintiff’s Fourth and Fourteenth Amendment

        rights.

     120.   The supervisory Defendants had a duty under 42 U.S.C. §1986 to

        report the civil rights violations which occurred on the date of the incident

        in question and therefore Defendants are liable.

      WHEREFORE, Plaintiff prays that the Court grant judgment against all

Defendants for the following:

       A. Enter a declaratory judgment, pursuant to Rule 57 of the Federal

            Rules of Civil Procedure, stating that Defendants’ actions have

            subjected Plaintiff to excessive force in violation of 42 U.S.C. §1983.

       B.   Award compensatory damages to Plaintiff.

       C.   Award punitive damages to Plaintiff.

       D. Award cost of suit to include disbursements and attorney’s fees.

       E.   Grant such other and further relief as the Court deems fair and

            equitable.
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     121.    A jury trial as to this count.

                  COUNT III– FEDERAL CIVIL RIGHTS VIOLATION

     4th and 14th Amendment – Failure to Intervene Violations of the 4 th and
                                  14th Amendment
                             42 U.S.C. §1983 and §1986
        Against Defendant Trooper Amarose, in his individual and official
            capacity as a Chambersburg Pennsylvania State Trooper
        Against Defendant Trooper Tremaine, in his individual and official
            capacity as a Chambersburg Pennsylvania State Trooper
       Against Defendant John Doe Supervisory Officers in their individual
               and official capacities as Police Supervisory Officers


     122.   Defendants Plaintiff incorporates by reference paragraphs 1 through

        121 of the instant Complaint.

     123.   Each Defendant knew or should have known that the other Defendants

        were engaging in excessive force in violation of Plaintiff’s constitutional

        rights.

     124.   None of the Defendants, despite knowing excessive force was being

        used, intervened to limit or stop the excessive force.

     125.   Such inactions of the Defendants resulted in serious physical injury to

        the Plaintiff and violated her constitutional rights.

      WHEREFORE, Plaintiff prays that the Court grant judgment against all

Defendants for the following:
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  A. Enter a declaratory judgment, pursuant to Rule 57 of the Federal

       Rules of Civil Procedure, stating that Defendants’ actions have

       subjected Plaintiff to excessive force in violation of 42 U.S.C. §1983.

  B.   Award compensatory damages to Plaintiff.

  C.   Award punitive damages to Plaintiff.

  D. Award cost of suit to include disbursements and attorney’s fees.

  E.   Grant such other and further relief as the Court deems fair and

       equitable.

126.   A jury trial as to this count.

        COUNT IV– SUPPLEMENTAL STATE CLAIMS

                           Assault
  Against Defendant Trooper Amarose, in his individual and official
      capacity as a Chambersburg Pennsylvania State Trooper
  Against Defendant Trooper Tremaine, in his individual and official
      capacity as a Chambersburg Pennsylvania State Trooper

127.   Plaintiff incorporates by reference paragraphs 1 through 126 as if

  fully set forth herein.

128.   Defendants intentionally caused Plaintiff to suffer imminent

  apprehension of harmful or offensive bodily contact.

129.   Defendants’ actions were willful and malicious.
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     130.    As a result of Defendants’ conduct, Plaintiff suffered and continued

        to suffer pain and suffering, humiliation, emotional distress, and mental

        anguish.

      WHEREFORE, Plaintiff prays that the Court grant judgment against all

Defendants for the following:

       A. Enter a declaratory judgment, pursuant to Rule 57 of the Federal

            Rules of Civil Procedure, stating that Defendants’ actions have

            subjected Plaintiff to excessive force in violation of 42 U.S.C. §1983.

       B.   Award compensatory damages to Plaintiff.

       C.   Award punitive damages to Plaintiff.

       D. Award cost of suit to include disbursements and attorney’s fees.

       E.   Grant such other and further relief as the Court deems fair and

            equitable.

     131.   A jury trial as to this count.

              COUNT V – SUPPLEMENTAL STATE CLAIMS

                                 Battery
        Against Defendant Trooper Amarose, in his individual and official
            capacity as a Chambersburg Pennsylvania State Trooper
        Against Defendant Trooper Tremaine, in his individual and official
            capacity as a Chambersburg Pennsylvania State Trooper


     132.   Plaintiff incorporates by reference paragraphs 1 through 131 as if fully

        set forth herein.
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     133.      Defendants intended to cause offensive contact to Plaintiff.

     134.      Defendants intended to cause harmful or offensive contact to Plaintiff

           by grabbing her aggressively and forcing her to the pavement causing

           severe injuries and then handcuffing her.

     135.      Defendants’ acts directly resulted in harmful and offensive contact to

           Plaintiff.

     136.      Defendants’ contact was offensive and would offend a reasonable

           person’s personal sense of dignity.

     137.      As a result of Defendants’ conduct, Plaintiff suffered and continued to

           suffer pain and suffering, humiliation, emotional distress and mental

           anguish.

     WHEREFORE, Plaintiff prays that the Court grant judgment against all

Defendants for the following:

      A.       Award compensatory damages to Plaintiff, including harm to her

reputation, financial losses, emotion stress and mental anguish and humiliation.

     B.        Award punitive damages to Plaintiff.

     C.        Award cost of suit to include disbursements and attorney’s fees.

     D.        Grant such other and further relief as the Court deems fair and

equitable.

     138.      Jury trial as to this count.
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     WHEREFORE, Plaintiff respectfully demands judgment of the Defendants

jointly and severally for the deprivation of his 4th and 14th Amendment rights to be

free of excessive and unnecessary force, assault and battery while being taken into

custody together with damage for pain and suffering, for humiliation and

embarrassment, for emotional stress, fees, attorney’s fees, and such other relief as

the court may deem appropriate.

Dated:01/13/2022                 Respectfully submitted,



                                 /s/ Matthew L. Owens
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